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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In the Matter of                                     )
                                                     )       No. 18D10
Joel Alan Brodsky                                    )
                                                     )       (Before the Executive Committee)
               An Attornev                           )

                                             ORDER

       1.      Joel Alan Brodsky was admitted to practice before the general bar of this Court on

               January 26,1983 and before the trial bar of this Court on August 6,1984.

       2.      On April 5, 2018, the Honorable Virginia Kendall notified the             Executive

               Committee of Mr. Brodsky's actions before the Court while he was representing

               the defendant in case number 16 C 4182, Twyman v. S&M Auto Brokers, Inc. et al.

               In a March 28,2018 order in     case number 16    C   4182, Judge Kendall imposed

               sanctions upon Mr. Brodsky.

       3.      On January 18,2019, the Seventh Circuit Court of Appeals affirmed the imposition

               of sanctions against Mr. Brodsky in District Court case number 16 C 4182, Twymon

               v. S&M Auto Brokers, Inc. et al.

       4.      On February 8,2019, the Executive Committee stayed any disciplinary decision

               pending a ruling by the Seventh Circuit Court of Appeals on Mr. Brodsky's motion

               for rehearing.

       5.      On February 11,2019, the Seventh Circuit Court of Appeals entered an order

               denying Mr. Brodsky's petition for rehearing.

               On March 13,2019, the Executive Committee entered an order noting that in order

               for the Committee to consider the appropriate disciplinary sanction, if any, for Joel

               Alan Brodsky's violation of Rules 3.1,4.5(a), and 8.4(d) of the American Bar

               Association Model Rules of Professional Conduct, which apply to the attorneys of
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                 this Court's bar pursuant to Local Rule 83.50, Mr. Brodsky shall inform the

                 Committee of the status of payment of the monetary sanction ordered by Kendall.

         7.      On March 2'7,2019, Mr. Brodsky responded, and the Executive Committee

                 considered his submission.

         8.      By clear and convincing evidence, based on the same misconduct found by Judge

                 Kendall in the Tyvman case, the Executive Committee finds that Joel Alan Brodsky

                 violated the following American Bar Association Model Rules of Professional

                 Conduct:

                         A. Rule 3.1: A lawyer shall not assert an issue unless there is     a basis   in law

                 and fact that is not frivolous.

                         B. Rule 4.5(a): A lawyer shall not use means that have no substantial

                 purpose other than       to   embarrass   or burden a third person (namely,       Donald

                 Szczesniak, Plaintiff s expert witness in Twyman).

                         C. Rule 8.4(d): It is professional misconduct for a lawyer to engage in

                 conduct that is prejudicial to the administration ofjustice.

         IT IS HEREBY ORDERED that Joel Alan Brodsky is suspended from this Court's general

and   trial bars for a period of one year, after which he may petition the Executive Committee for

reinstatement.

                 IT IS FURTHER ORDERED that within twenty-one (21) days of the docketing of

this order, Joel Alan Brodsky shall notify by certified mail, return receipt requested, all clients to

whom Joel Alan Brodsky is responsible for pending matters before this Court of the fact that the

attomey cannot continue to represent them.

                 IT IS FURTHER ORDERED that any password issued to Joel Alan Brodsky for

access to the electronic     filing system shall be disabled until the attorney is reinstated to active

status with this District.
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       IT IS   FURTHER ORDERED that pursuant               to Local Rule 83.25(e), the Executive
Committee has determined that in the interest ofjustice, a copy of this order shall be docketed on

each pending case   in which Joel Alan Brodsky has filed an appearance and shall be shared with

the Supreme Court of Illinois Attomey Registration and Disciplinary Commission.

               IT IS FURTHER ORDERED that within thirty-five (35) days of the entry of this

ordero Joel Alan Brodsky shall   file with the Assistant to the Clerk of the Court a declaration

indicating the address to which subsequent communications may be addressed; and shall keep

and maintain records evidencing compliance with this order so that proof of compliance       will   be

available if needed for any subsequent proceeding instituted by or against the attorney.




                                       ENTER:

                                       FOR THE EXECUTIVE COMMITTEE




                                                       Chief Judge

       DATED:     April 1/ ,2}lg
